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                                                114


      Lawrence Mudgett III, Esq., State Bar No. 252898
 1    SAFER LAW
      3245 University Ave #1265
 2    San Diego, CA 92104
      Telephone: (619) 794-0460
 3    Facsimile: (619) 794-0470
 4    Attorneys for Movant
 5    3139 Mount Whitney Rd. Trust Dated 06/14/2021,
      U.S. Financial L.P., as Trustee
 6
 7
 8                                UNITED STATES BANKRUPTCY COURT
 9                                 SOUTHERN DISTRICT OF CALIFORNIA
10
     In re:                              )                    Case No.: 21-04335-LA13
11                                       )
     DEBRA LYNN TONER                    )                    RS No.: LM3-1
12                                       )
                   Debtor.               )                    DECLARATION IN SUPPORT OF
13                                       )                    MOTION FOR IN REM RELIEF FROM
14   3139 MOUNT WHITNEY RD. TRUST DATED )                     STAY
     06/14/2021, U.S. FINANCIAL L.P., AS )
     TRUSTEE                             )
15                                       )                    11 USC § 362(c)(4), 11 USC § 362(d)(4)
                   Moving Party.         )
16                                       )
                                         )
17
     DEBRA LYNN TONER; TRUSTEE THOMAS )                       The Honorable Louise DeCarl Adler
     H. BILLINGSLEA                      )
18                                       )
                   Respondents.          )
19
                                         )
20                                       )
                                         )
21
               I, Don Rady, hereby declare as follows under the penalty of perjury for the laws of the United
22
     States:
23
         1) That I have personal knowledge of the facts stated in this declaration and if called as a witness
24
               to testify, could competently do so in a substantially similar manner under oath.
25
         2) That I am the person most knowledgeable on behalf of Movant.
26
         3) That the records produced are kept in the ordinary course and scope of Movant’s business.
27
28
                                                    Declaration
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 1    4) That 3139 Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Financial L.P. as Trustee is a

 2       secured creditor for the subject property located at 3139 Mount Whitney Road, Escondido,

 3       CA 92029 (“Property”)

 4    5) Attached to the Declaration of MOVANT as Exhibit 1 is a true and correct copy of the

 5       Recorded Deed of Trust.

 6    6) Attached to the Declaration of Movant as Exhibit 2 is a true and correct copy of the Recorded

 7       Assignment of Deed of Trust.

 8    7) Attached to the Declaration of Movant as Exhibit 3 is a true and correct copy of the Recorded

 9       Assignment of Deed of Trust.
10    8) Attached to the Declaration of Movant as Exhibit 4 is a true and correct copy of the Recorded

11       Assignment of Deed of Trust.
12    9) Attached to the Declaration of Movant as Exhibit 5 is a true and correct copy of the

13       Substitution of Trustee.

14    10) Attached to the Declaration of Movant as Exhibit 6 is a true and correct copy of the Notice
15       of Default.
16    11) Attached to the Declaration of Movant as Exhibit 7 is a true and correct copy of the Notice

17       of Trustee Sale.
18    12) Attached to the Declaration of Movant as Exhibit 8 is a true and correct copy of the Trustee’s

19       Deed Upon Sale.

20    13) Attached to the Declaration of Movant as Exhibit 9 is a true and correct copy of the Grant

21       Deed.

22    14) Attached to the Declaration of Movant as Exhibit 10 is a true and correct copy of the

23       Memorandum of Lease.

24    15) Attached to the Declaration of Movant as Exhibit 11 is a true and correct copy of Mr.

25       Stanley’s prior Bankruptcy filings.

26    16) Attached to the Declaration of Movant as Exhibit 12 is a true and correct copy of the recorded

27       Lis Pendens.

28
                                                    2
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 1      17) Attached to the Declaration of Movant as Exhibit 13 is a true and correct copy of the Civil

 2         Register of Actions #48.

 3      18) Attached to the Declaration of Movant as Exhibit 14 is a true and correct copy of the

 4         Unlawful Detainer Complaint.

 5      19) Attached to the Declaration of Movant as Exhibit 15 is a true and correct copy of the Order

 6         on Remand.

 7      20) Attached to the Declaration of Movant as Exhibit 16 is a true and correct copy of the

 8         Unlawful Detainer Register of Actions.

 9      21) Attached to the Declaration of Movant as Exhibit 17 is a true and correct copy of the Notice
10         of Stay of Proceedings.

11      22) Movant respectfully requests: 1) an order that no stay applies, 2) “in rem” relief from stay,
12         and 3) waiver of the 14 day stay of enforcement.

13
                                                           /s/Don Rady
     Dated: December 17, 2021                            ____________________________________
14                                                       Don Rady on behalf of Movant
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      EXHIBIT 2
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  EXHIBIT 11
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                                                               Select a Case

  There were 2 matching persons.
  There were 5 matching cases.


  Name                             Case No.                 Case Title          Chapter / Lead        Date         Party     Date
                                                                                BK case               Filed        Role      Closed
  Stanley, Richard
                                                            Richard
  (pty)                            96-09966-JM                                  7                     07/23/96 Debtor        11/01/96
                                                            Stanley
  (1 case)
  Stanley, Richard
                                                            Richard Lee
  Lee (pty)                        10-14486-MM13                                13                    08/15/10 Debtor        10/14/10
                                                            Stanley
  (4 cases)
                                                            Richard Lee
                                   10-18157-MM13                                13                    10/12/10 Debtor        10/12/11
                                                            Stanley
                                                            Richard Lee
                                   11-15765-MM13                                13                    09/22/11 Debtor        10/09/12
                                                            Stanley
                                                            Richard Lee
                                   14-09730-MM13                                13                    12/18/14 Debtor        06/03/15
                                                            Stanley



                                                          PACER Service Center
                                                               Transaction Receipt
                                                                  12/14/2021 16:54:27
                                     PACER
                                                     Lawrence78 Client Code:
                                     Login:
                                                                    Search          LName: Stanley FName:
                                     Description: Search
                                                                    Criteria:       Richard
                                     Billable
                                                     1              Cost:           0.10
                                     Pages:




https://ecf.casb.uscourts.gov/cgi-bin/iquery.pl?123692217204047-L_1_0-1                                                          Page 1 of 1
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    EXHIBIT 13
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SUPERIOR COURT OF CALIFORNIA
County of SAN DIEGO                                                        Register of Actions Notice

Case Number:     37-2021-00009286-CU-OR-NC                                   Filing Date:         03/03/2021
Case Title:      Toner vs Bank of New York Mellon [IMAGED]                   Case Age:            274 days
Case Status:     Pending                                                     Location:            North County
Case Category:   Civil - Unlimited                                           Judicial Officer:    Earl H. Maas, III
Case Type:       Other Real Property                                         Department:          N-28

Future Events
Date             Time              Department                   Event
12/10/2021       01:30 PM          N-28                         Motion Hearing (Civil)
01/28/2022       10:00 AM          N-28                         Civil Case Management Conference - Complaint
04/01/2022       01:30 PM          N-28                         Demurrer / Motion to Strike
04/01/2022       01:30 PM          N-28                         Motion Hearing (Civil)

Participants
Name                                             Role                 Representation
Holders of the CSMC Trust 2010-16 Mortgage-      Defendant
Backed Notes and Certificates Series 2010-16
Select Portfolio Services                        Defendant            Robinson, Cathy Knecht
TONER, DEBRA                                     Plaintiff            Marshall, Charles T
The Bank of New York Mellon as Indenture         Defendant            Robinson, Cathy Knecht
Trustee on Behalf of the Holders of the CSMC
Trust 2010-16 Mortgage-Backed Notes and
Certificates Series 2010-16; ESA : Bank of New
York Mellon AND Holders of the CSMC Trust
2010-16 Mortgage-Backed Notes and
Certificates Series 2010-16

Representation
Name                                             Address                                          Phone Number
MARSHALL, CHARLES T                              LAW OFFICES OF CHARLES T MARSHALL                (866) 575-7413, (619)
                                                 415 Laurel Street 405 San Diego CA 92101         807-2628
ROBINSON, CATHY K                                WRIGHT FINLAY & ZAK LLP 4665 MacArthur           (949) 477-5050
                                                 Court 200 Newport Beach CA 92660

ROA#       Entry Date                          Short/Long Entry                                 Filed By
    1      03/03/2021    Complaint filed by TONER, DEBRA.                              TONER, DEBRA (Plaintiff)
                         Refers to: The Bank of New York Mellon as Indenture
                         Trustee on Behalf of the Holders of the CSMC Trust 2010-
                         16 Mortgage-Backed Notes and Certificates Series 2010-
                         16; Select Portfolio Services; Holders of the CSMC Trust
                         2010-16 Mortgage-Backed Notes and Certificates Series
                         2010-16
      2    03/03/2021    Civil Case Cover Sheet filed by TONER, DEBRA.                 TONER, DEBRA (Plaintiff)
                         Refers to: The Bank of New York Mellon as Indenture
                         Trustee on Behalf of the Holders of the CSMC Trust 2010-
                         16 Mortgage-Backed Notes and Certificates Series 2010-
                         16; Select Portfolio Services; Holders of the CSMC Trust
                         2010-16 Mortgage-Backed Notes and Certificates Series
                         2010-16
      3    03/03/2021    Original Summons filed by TONER, DEBRA.                       TONER, DEBRA (Plaintiff)
                         Refers to: The Bank of New York Mellon as Indenture
                         Trustee on Behalf of the Holders of the CSMC Trust 2010-
                         16 Mortgage-Backed Notes and Certificates Series 2010-
                         16; Select Portfolio Services; Holders of the CSMC Trust
                         2010-16 Mortgage-Backed Notes and Certificates Series
                         2010-16


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San Diego Superior Court   Case: 37-2021-00009286-CU-OR-NC        Title: Toner   vs Bank of New York Mellon [IMAGED

       4     03/04/2021    Summons issued.
       5     03/03/2021    Case assigned to Judicial Officer Freeland, Cynthia.
       6     03/04/2021    Civil Case Management Conference scheduled for
                           01/28/2022 at 09:00:00 AM at North County in N-27 Cynthia
                           A. Freeland.
       7     03/04/2021    Case initiation form printed.
       8     03/08/2021    Ex Parte scheduled for 03/11/2021 at 08:30:00 AM at North
                           County in N-27 Cynthia A. Freeland.
       9     03/08/2021    Motion Hearing (Civil) scheduled for 05/07/2021 at 01:30:00
                           PM at North County in N-27 Cynthia A. Freeland.
      10     03/10/2021    Ex Parte Application - Other and Supporting Documents          TONER, DEBRA (Plaintiff)
                           (3/11) filed by TONER, DEBRA.
      11     03/10/2021    Proposed Order (3/11) filed by TONER, DEBRA.                   TONER, DEBRA (Plaintiff)
      12     03/11/2021    Minutes finalized for Ex Parte heard 03/11/2021 08:30:00
                           AM.
      13     03/11/2021    Clerk's Certificate of Service By Mail (Minutes Only) SD
                           generated.
      14     03/16/2021    Peremptory Challenge (GRANTED) filed by TONER,                 TONER, DEBRA (Plaintiff)
                           DEBRA.
      15     03/17/2021    Case reassigned from Judge Freeland, Cynthia A. to Earl
                           Maas effective 03/16/2021
      16     03/17/2021    Civil Case Management Conference reassigned to Earl H.
                           Maas for 01/28/2022 at 09:00:00 AM in N-28 at North
                           County.
      17     03/17/2021    Civil Case Management Conference scheduled for
                           01/28/2022 at 09:00:00 AM at North County in N-28 Earl H.
                           Maas.
      18     03/17/2021    The Civil Case Management Conference was rescheduled
                           to 01/28/2022 at 10:00:00 AM in N-28 before Earl H. Maas
                           at North County.
      19     03/17/2021    Civil Case Management Conference scheduled for
                           01/28/2022 at 10:00:00 AM at North County in N-28 Earl H.
                           Maas.
      20     03/17/2021    Motion Hearing (Civil) reassigned to Earl H. Maas for
                           05/07/2021 at 01:30:00 PM in N-28 at North County.
      21     03/17/2021    Motion Hearing (Civil) scheduled for 05/07/2021 at 01:30:00
                           PM at North County in N-28 Earl H. Maas.
      22     04/22/2021    Motion Hearing (Civil) scheduled for 05/07/2021 at 01:30:00
                           PM at North County in N-28 Earl H. Maas was vacated.
      23     06/11/2021    Demurrer (10/15/2021) filed by The Bank of New York            The Bank of New York Mellon as
                           Mellon as Indenture Trustee on Behalf of the Holders of the    Indenture Trustee on Behalf of
                           CSMC Trust 2010-16 Mortgage-Backed Notes and                   the Holders of the CSMC Trust
                           Certificates Series 2010-16; Select Portfolio Services.        2010-16 Mortgage-Backed
                                                                                          Notes and Certificates Series
                                                                                          2010-16 (Defendant); Select
                                                                                          Portfolio Services (Defendant)
      24     06/11/2021    Request for Judicial Notice (10/15/2021) filed by The Bank     The Bank of New York Mellon as
                           of New York Mellon as Indenture Trustee on Behalf of the       Indenture Trustee on Behalf of
                           Holders of the CSMC Trust 2010-16 Mortgage-Backed              the Holders of the CSMC Trust
                           Notes and Certificates Series 2010-16; Select Portfolio        2010-16 Mortgage-Backed
                           Services.                                                      Notes and Certificates Series
                                                                                          2010-16 (Defendant); Select
                                                                                          Portfolio Services (Defendant)
      25     06/11/2021    Declaration - Other (of Zachary H Fiene 10/15/2021) filed      The Bank of New York Mellon as
                           by The Bank of New York Mellon as Indenture Trustee on         Indenture Trustee on Behalf of
                           Behalf of the Holders of the CSMC Trust 2010-16                the Holders of the CSMC Trust
                           Mortgage-Backed Notes and Certificates Series 2010-16;         2010-16 Mortgage-Backed
                           Select Portfolio Services.                                     Notes and Certificates Series
                                                                                          2010-16 (Defendant); Select
                                                                                          Portfolio Services (Defendant)


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      26     06/11/2021    Demurrer / Motion to Strike scheduled for 10/15/2021 at
                           01:30:00 PM at North County in N-28 Earl H. Maas.
      27     06/11/2021    Motion to Strike (10/15/2021) filed by The Bank of New         The Bank of New York Mellon as
                           York Mellon as Indenture Trustee on Behalf of the Holders      Indenture Trustee on Behalf of
                           of the CSMC Trust 2010-16 Mortgage-Backed Notes and            the Holders of the CSMC Trust
                           Certificates Series 2010-16; Select Portfolio Services.        2010-16 Mortgage-Backed
                                                                                          Notes and Certificates Series
                                                                                          2010-16 (Defendant); Select
                                                                                          Portfolio Services (Defendant)
      28     06/11/2021    Demurrer / Motion to Strike scheduled for 10/15/2021 at
                           01:30:00 PM at North County in N-28 Earl H. Maas.
      29     09/15/2021    Motion Hearing (Civil) scheduled for 10/22/2021 at 01:30:00
                           PM at North County in N-28 Earl H. Maas.
      31     09/16/2021    Motion to Expunge Lis Pendens (10/22/2021) filed by 3139 3139 Mount Whitney Rd. Trust
                           Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Financial, Dated 06/14/2021, U.S.
                           LP as Trustee.                                              Financial, LP as Trustee
                                                                                       (Defendant)
      32     09/16/2021    Memorandum of Points and Authorities (10/22/2021) filed     3139 Mount Whitney Rd. Trust
                           by 3139 Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Dated 06/14/2021, U.S.
                           Financial, LP as Trustee.                                   Financial, LP as Trustee
                                                                                       (Defendant)
      33     09/16/2021    Request for Judicial Notice (10/22/2021) filed by 3139      3139 Mount Whitney Rd. Trust
                           Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Financial, Dated 06/14/2021, U.S.
                           LP as Trustee.                                              Financial, LP as Trustee
                                                                                       (Defendant)
      34     09/16/2021    Declaration - Other (of Rachael Callahan 10/22/2021) filed 3139 Mount Whitney Rd. Trust
                           by 3139 Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Dated 06/14/2021, U.S.
                           Financial, LP as Trustee.                                   Financial, LP as Trustee
                                                                                       (Defendant)
      35     09/16/2021    Declaration - Other (of Donald R Rady 10/22/2021) filed by 3139 Mount Whitney Rd. Trust
                           3139 Mount Whitney Rd. Trust Dated 06/14/2021, U.S.         Dated 06/14/2021, U.S.
                           Financial, LP as Trustee.                                   Financial, LP as Trustee
                                                                                       (Defendant)
      36     09/16/2021    Proposed Order (10/22/2021) submitted by 3139 Mount         3139 Mount Whitney Rd. Trust
                           Whitney Rd. Trust Dated 06/14/2021, U.S. Financial, LP as Dated 06/14/2021, U.S.
                           Trustee received but not filed on 09/16/2021.               Financial, LP as Trustee
                                                                                       (Defendant)
      37     09/16/2021    Proof of Service filed by 3139 Mount Whitney Rd. Trust      3139 Mount Whitney Rd. Trust
                           Dated 06/14/2021, U.S. Financial, LP as Trustee.            Dated 06/14/2021, U.S.
                                                                                       Financial, LP as Trustee
                                                                                       (Defendant)
      38     09/24/2021    Joinder to Motion and Supporting Declarations (10/22/2021) Select Portfolio Services
                           filed by Select Portfolio Services; The Bank of New York    (Defendant); The Bank of New
                           Mellon as Indenture Trustee on Behalf of the Holders of the York Mellon as Indenture
                           CSMC Trust 2010-16 Mortgage-Backed Notes and                Trustee on Behalf of the Holders
                           Certificates Series 2010-16.                                of the CSMC Trust 2010-16
                                                                                       Mortgage-Backed Notes and
                                                                                       Certificates Series 2010-16
                                                                                       (Defendant)
      39     10/04/2021    Demurrer / Motion to Strike scheduled for 10/15/2021 at
                           01:30:00 PM at North County in N-28 Earl H. Maas was
                           vacated.
      40     10/01/2021    Amended Complaint (***First Amended***) filed by TONER, TONER, DEBRA (Plaintiff)
                           DEBRA.
                           Refers to: Select Portfolio Services; The Bank of New York
                           Mellon as Indenture Trustee on Behalf of the Holders of the
                           CSMC Trust 2010-16 Mortgage-Backed Notes and
                           Certificates Series 2010-16; Holders of the CSMC Trust
                           2010-16 Mortgage-Backed Notes and Certificates Series
                           2010-16




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      41     10/04/2021    Notice - Other (Notice RE Withdrawal of Demurrer and            Select Portfolio Services
                           Motion to Strike) filed by Select Portfolio Services; The       (Defendant); The Bank of New
                           Bank of New York Mellon as Indenture Trustee on Behalf of       York Mellon as Indenture
                           the Holders of the CSMC Trust 2010-16 Mortgage-Backed           Trustee on Behalf of the Holders
                           Notes and Certificates Series 2010-16.                          of the CSMC Trust 2010-16
                                                                                           Mortgage-Backed Notes and
                                                                                           Certificates Series 2010-16
                                                                                           (Defendant)
      42     10/08/2021    Opposition to Noticed Motion and Supporting Declarations        TONER, DEBRA (Plaintiff)
                           filed by TONER, DEBRA.
      43     10/08/2021    Declaration - Other filed by TONER, DEBRA.                      TONER, DEBRA (Plaintiff)
      44     10/12/2021    Demurrer / Motion to Strike scheduled for 10/15/2021 at
                           01:30:00 PM at North County in N-28 Earl H. Maas was
                           vacated.
      45     10/18/2021    Reply to Opposition - Other (10/22/21) filed by 3139 Mount      3139 Mount Whitney Rd. Trust
                           Whitney Rd. Trust Dated 06/14/2021.                             Dated 06/14/2021 (Claimant)
      46     10/18/2021    Declaration - Other (10/22/21) filed by 3139 Mount Whitney      3139 Mount Whitney Rd. Trust
                           Rd. Trust Dated 06/14/2021.                                     Dated 06/14/2021 (Claimant)
      47     10/18/2021    Notice of Intent to Appear Telephonically (10/22/21) filed by   3139 Mount Whitney Rd. Trust
                           3139 Mount Whitney Rd. Trust Dated 06/14/2021.                  Dated 06/14/2021 (Claimant)
      48     10/21/2021    Tentative Ruling for Motion Hearing (Civil) published.
      49     10/18/2021    Proof of Service filed by 3139 Mount Whitney Rd. Trust          3139 Mount Whitney Rd. Trust
                           Dated 06/14/2021, U.S. Financial, LP as Trustee.                Dated 06/14/2021, U.S.
                                                                                           Financial, LP as Trustee
                                                                                           (Defendant)
      50     10/22/2021    Minutes finalized for Motion Hearing (Civil) heard
                           10/22/2021 01:30:00 PM.
      51     10/22/2021    Notice of Withdrawal of Pendency of Action filed by             TONER, DEBRA (Plaintiff)
                           TONER, DEBRA.
      52     11/01/2021    Motion Hearing (Civil) scheduled for 12/10/2021 at 01:30:00
                           PM at North County in N-28 Earl H. Maas.
      53     11/02/2021    Declaration - Other filed by Select Portfolio Services; The     Select Portfolio Services
                           Bank of New York Mellon as Indenture Trustee on Behalf of       (Defendant); The Bank of New
                           the Holders of the CSMC Trust 2010-16 Mortgage-Backed           York Mellon as Indenture
                           Notes and Certificates Series 2010-16.                          Trustee on Behalf of the Holders
                                                                                           of the CSMC Trust 2010-16
                                                                                           Mortgage-Backed Notes and
                                                                                           Certificates Series 2010-16
                                                                                           (Defendant)
      54     11/01/2021    Motion for Reconsideration (12/10/2021) filed by TONER,         TONER, DEBRA (Plaintiff)
                           DEBRA.
      55     11/01/2021    Proposed Order (12/10/2021) submitted by TONER,                 TONER, DEBRA (Plaintiff)
                           DEBRA received but not filed on 11/01/2021.
      56     11/01/2021    Declaration - Other (12/10/2021) filed by TONER, DEBRA.    TONER, DEBRA (Plaintiff)
      57     11/12/2021    Opposition to Noticed Motion and Supporting Declarations   3139 Mount Whitney Rd. Trust
                           (12/10/2021) filed by 3139 Mount Whitney Rd. Trust Dated   Dated 06/14/2021, U.S.
                           06/14/2021, U.S. Financial, LP as Trustee.                 Financial, LP as Trustee
                                                                                      (Defendant)
      58     11/12/2021    Request for Judicial Notice (12/10/2021) filed by 3139     3139 Mount Whitney Rd. Trust
                           Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Financial, Dated 06/14/2021, U.S.
                           LP as Trustee.                                             Financial, LP as Trustee
                                                                                      (Defendant)
      59     11/12/2021    Notice of Intent to Appear Telephonically filed by 3139    3139 Mount Whitney Rd. Trust
                           Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Financial, Dated 06/14/2021, U.S.
                           LP as Trustee.                                             Financial, LP as Trustee
                                                                                      (Defendant)
      60     11/16/2021    Proof of Service (1210/21) filed by 3139 Mount Whitney Rd. 3139 Mount Whitney Rd. Trust
                           Trust Dated 06/14/2021, U.S. Financial, LP as Trustee.     Dated 06/14/2021, U.S.
                                                                                      Financial, LP as Trustee
                                                                                      (Defendant)



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      61     11/16/2021    Proof of Service (12/10/21) filed by 3139 Mount Whitney     3139 Mount Whitney Rd. Trust
                           Rd. Trust Dated 06/14/2021, U.S. Financial, LP as Trustee. Dated 06/14/2021, U.S.
                                                                                       Financial, LP as Trustee
                                                                                       (Defendant)
      62     11/17/2021    Proof of Service filed by 3139 Mount Whitney Rd. Trust      3139 Mount Whitney Rd. Trust
                           Dated 06/14/2021.                                           Dated 06/14/2021 (Claimant)
      63     12/02/2021    Demurrer / Motion to Strike scheduled for 04/01/2022 at
                           01:30:00 PM at North County in N-28 Earl H. Maas.
      64     12/02/2021    Demurrer (4/1/2022) filed by Select Portfolio Services; The Select Portfolio Services
                           Bank of New York Mellon as Indenture Trustee on Behalf of (Defendant); The Bank of New
                           the Holders of the CSMC Trust 2010-16 Mortgage-Backed York Mellon as Indenture
                           Notes and Certificates Series 2010-16.                      Trustee on Behalf of the Holders
                                                                                       of the CSMC Trust 2010-16
                                                                                       Mortgage-Backed Notes and
                                                                                       Certificates Series 2010-16
                                                                                       (Defendant)
      65     12/02/2021    Request for Judicial Notice (ISO Demurrer [4/1/2022]) filed Select Portfolio Services
                           by Select Portfolio Services; The Bank of New York Mellon (Defendant); The Bank of New
                           as Indenture Trustee on Behalf of the Holders of the CSMC York Mellon as Indenture
                           Trust 2010-16 Mortgage-Backed Notes and Certificates        Trustee on Behalf of the Holders
                           Series 2010-16.                                             of the CSMC Trust 2010-16
                                                                                       Mortgage-Backed Notes and
                                                                                       Certificates Series 2010-16
                                                                                       (Defendant)
      66     12/02/2021    Declaration - Other (Declaration of Zachary J. Fiene RE     Select Portfolio Services
                           Meet and Confer ISO Demurrer [4/1/2022]) filed by Select (Defendant); The Bank of New
                           Portfolio Services; The Bank of New York Mellon as          York Mellon as Indenture
                           Indenture Trustee on Behalf of the Holders of the CSMC      Trustee on Behalf of the Holders
                           Trust 2010-16 Mortgage-Backed Notes and Certificates        of the CSMC Trust 2010-16
                           Series 2010-16.                                             Mortgage-Backed Notes and
                                                                                       Certificates Series 2010-16
                                                                                       (Defendant)
      67     12/02/2021    Motion Hearing (Civil) scheduled for 04/01/2022 at 01:30:00
                           PM at North County in N-28 Earl H. Maas.
      68     12/02/2021    Motion to Strike (4/1/2022) filed by Select Portfolio       Select Portfolio Services
                           Services; The Bank of New York Mellon as Indenture          (Defendant); The Bank of New
                           Trustee on Behalf of the Holders of the CSMC Trust 2010- York Mellon as Indenture
                           16 Mortgage-Backed Notes and Certificates Series 2010-      Trustee on Behalf of the Holders
                           16.                                                         of the CSMC Trust 2010-16
                                                                                       Mortgage-Backed Notes and
                                                                                       Certificates Series 2010-16
                                                                                       (Defendant)




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1    RACHAEL CALLAHAN, ESQ. (SBN: 275627)
     CALLAHAN FIRM APC
2    10509 SAN DIEGO MISSION ROAD, SUITE A
3    SAN DIEGO, CA 92108
     TEL: (619) 299-1761
4    FAX: (619) 297-9724

5
     Attorney for Plaintiff(s), 3139 MOUNT WHITNEY RD. TRUST
6    DATED 06/14/2021, U.S. FINANCIAL, L.P., AS TRUSTEE

7
8
9
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                                   COUNTY OF SAN DIEGO
                                      CENTRAL DIVISION
11
      3139 MOUNT WHITNEY RD. TRUST                             Case No.:
12    DATED 06/14/2021, U.S. FINANCIAL, L.P.,
      AS TRUSTEE,                                              LIMITED JURISDICTION
13
                                                               VERIFIED COMPLAINT FOR
14                    Plaintiff(s),                            UNLAWFUL DETAINER
             vs.
15                                                             [Action based on Code of Civil Procedure
      DEBRA TONER; KEVIN P. CAREY;                             Section 1161a]
16
      RICHARD L. STANLEY AKA RICHARD
      STANLEY; and DOES 1-10,                                  [Amount in controversy does not exceed
17                                                             $10,000]
18                    Defendant(s)
19
20          Plaintiff 3139 MOUNT WHITNEY RD. TRUST DATED 06/14/2021, U.S. FINANCIAL, L.P.,

21   AS TRUSTEE (hereinafter “Plaintiff”) alleges causes of action against Defendants DEBRA TONER;

22   KEVIN P. CAREY; RICHARD L. STANLEY AKA RICHARD STANLEY (hereinafter “Defendant”)

23   and DOES 1-10 as follows:

24                                                        I.

25                          FIRST CAUSE OF ACTION FOR UNLAWFUL DETAINER

26          1.      Plaintiff is a limited partnership duly organized and existing under the laws of the

27   State of California, as trustee for 3139 MOUNT WHITNEY RD. TRUST DATED 06/14/2021.

28   Plaintiff is, and at all times herein mentioned was, authorized to do business in the State of California.


                                                          1

                               VERIFIED COMPLAINT FOR UNLAWFUL DETAINER
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1           2.      Plaintiff’s interest in the premises is as owner.
2           3.      Plaintiff is informed and believes, and thereon alleges that the Defendant(s) is/are in
3    possession of the real property, which is the subject of this action.
4           4.      The true names and capacities of defendants sued herein as Does 1 through 10,
5    inclusive, are unknown to Plaintiff who therefore sues said defendants by such fictitious names.
6    Plaintiff will seek leave of court to amend the Complaint to allege their true names and capacities when
7    the same are fully ascertained.
8           5.      Plaintiff is informed and believes, and thereon alleges, that each of the defendants is,
9    and at all times herein mentioned was, the agent or employee of each of the remaining defendants and
10   in doing the things herein alleged, was acting within the course and scope of such agency or
11   employment. Plaintiff is informed and believes, and thereon alleges, that each of the defendants
12   ratified, approved and accepted the benefits of the acts of each of the remaining defendants with full
13   knowledge of the nature and effect of such acts.
14         6.       The real property, which is the subject of this action, is located at: 3139 MOUNT
15   WHITNEY ROAD, ESCONDIDO, CA 92029, SAN DIEGO COUNTY. Said real property shall
16   hereinafter be referred to as the “subject property”. The subject property is within the geographical
17   area for venue of the above-entitled court.
18         7.       On or about 06/14/2021, Plaintiff purchased the subject property at a trustee’s sale
19   conducted pursuant to a power of sale in a deed of trust in which the Defendant(s), and each of them,
20   excepting the fictitiously named doe defendants, were the trustors on the underlying deed of trust and
21   former owners of the subject property.
22          8.      Plaintiff is informed and believes, and thereon alleges that the nonjudicial foreclosure
23   process leading up to said trustee’s sale was conducted in compliance with the provisions of
24   California Civil Code, Section 2924.
25          9.      Plaintiff duly perfected title to the subject property per CCP §2924h(c) and the Trustee's
26   Deed Upon Sale was recorded on 08/03/2021.
27          10.     Plaintiff was a bona fide purchaser for value without notice of any defects in the
28   nonjudicial foreclosure process.

                                                          2

                               VERIFIED COMPLAINT FOR UNLAWFUL DETAINER
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1           11.     Specifically, Plaintiff was not the foreclosing beneficiary under the deed of trust leading
2    to said trustee’s sale, has, and at all times herein mentioned had no notice of any claimed professed
3    defects in the nonjudicial foreclosure process, if any, and paid valuable consideration for the subject
4    property.
5           12.     To Plaintiff’s knowledge the Defendant(s) has/have never tendered payment of funds to
6    reinstate the underlying note secured by deed of trust.
7           13.     The trustee’s deed upon sale recites that all statutory formalities leading up to the
8    nonjudicial foreclosure sale were properly complied with.
9           14.     Plaintiff is informed and believes, and thereon alleges that all statutory requirements for
10   publication and giving notice of the notice of default and election to sell, and of the notice of trustee’s
11   sale, in relation to said nonjudicial process, were duly complied with.
12          15.     On or about 08/28/2021, Plaintiff caused to be served on the Defendant(s), and upon all
13   persons claiming any right to possession of the subject property, a notice to quit (hereinafter the
14   “notice”), a copy of which is attached hereto and incorporated herein by reference as Exhibit 1 as
15   though fully set forth herein.
16          16.     The notice was served in compliance with the requirements of California Code of Civil
17   Procedure, Section 1162 by leaving a copy with Tony: White male, 5'10", 140lbs, dark short hair, a
18   person of suitable age and discretion, on 08/28/2021 at the subject property AND by posting a copy on
19   the subject property on 08/28/2021 and mailing a copy to Defendant(s) at the subject property on
20   08/28/2021.
21          17.     An original or certified copy of the trustee’s deed upon sale by which Plaintiff acquired
22   and duly perfected the title to the subject property shall be produced at trial.
23          18.     The period stated in the notice expired on 08/31/2021, and the Defendant(s), at all times
24   since expiration of the notice until the present, has/have remained in possession of the subject property
25   without Plaintiff’s permission or consent.
26          19.     Plaintiff is informed and believes and thereon alleges that the fair rental value of the
27   subject property is, and at all times since expiration of the notice, the sum of $4,600.00 per month, or
28   $153.33 per day. Plaintiff is informed and believes, and thereon alleges that Plaintiff is entitled to an

                                                           3

                               VERIFIED COMPLAINT FOR UNLAWFUL DETAINER
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1    award of damages for such fair rental value for the period commencing with expiration of the notice
2    up through entry of judgment, in a total sum according to proof.
3                                              II. CONCLUSION
4           Plaintiff prays for judgment as follows:
5           1.      For restitution and possession of the subject property located at: 3139 MOUNT
6    WHITNEY ROAD, ESCONDIDO, CA 92029, SAN DIEGO COUNTY.
7           2.      For daily rental value damages for the period commencing 09/01/2021, through the date
8    of entry of judgment at the rate of $153.33 per day;
9           3.      For costs of suit incurred herein; and
10          4.      For such other and further relief as this Court may deem proper and just.
11
12   Date: 09/01/21                               ____________________________________________
13                                                RACHAEL CALLAHAN, Attorney for Plaintiff

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                              VERIFIED COMPLAINT FOR UNLAWFUL DETAINER
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1                                                  VERIFICATION
2              I, the undersigned, certify and declare that I have read the foregoing Complaint for Unlawful
3    Detainer and know its contents. The statements following the checked statements are applicable.
4              1.     I am ____ party to this action (or) ____ an Officer (or) ____a partner (or) ____ a
5    member (or)
6                      ✔ an agent of the Plaintiff and am authorized to make this verification.
                      ____
7                      ✔ I make this verification instead of the named Plaintiff(s) in this action because
                      ____
8                      ✔ I have greater knowledge of the facts than the party to this action and/or ____ the
                      ____
9                     party to this action is unavailable to verification this complaint and/or ____ (additional
10                    reason(s))_______________________________________________________________
11                    ______________________________________________________________________.
12             2.      ✔ (For Party or Agent with Personal Knowledge) The allegations in this pleading are
                      ____
13   true of my own knowledge, except as to the matters which are therein stated on my information and
14   belief.
15                    ____ (For Officer/Member) I have read the pleading and I am informed and believe
16   that the matters therein are true, and on that ground, I allege that the matters stated therein are true.
17             3.     The Notice(s) that the Complaint is based upon is(are):
18             ____ 3-day notice(s) ____ 30-Day Notice ____ 60-day Notice ____ 90-day Notice
19              ✔ Other __________________________________________________________________.
               ____     3/90 Foreclosure Notice to Quit

20                                        153.33
               The daily damage value is $________________________.
21                                     3139 Mount Whitney Road, Escondido, CA 92029
               The Property Address is ________________________________________________________,
22   San Diego County.
23             4.     I request that a facsimile signature be accepted and admissible as original pursuant to
24   California Rule of Court 2.305(d).
25             I declare under penalty of perjury under the laws of the state of California that the foregoing is
26   true and correct to the best of my knowledge.
27                                            09/01/21
               I execute this verification on ________________,    San Diego
                                                                at _________________________, California.
28
     ________________________________________
     Don Rady

                                        VERIFICATION OF THE COMPLAINT
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                                                                     EXHIBIT 1

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                                                                                                                                             CP10.5
 NOTICE:          EVERYONE WHO LIVES IN THIS RENTAL UNIT MAY BE EVICTED BY COURT ORDER. READ THIS FORM
                  IF YOU LIVE HERE AND IF YOUR NAME IS NOT ON THE ATTACHED SUMMONS AND COMPLAINT.
 1. If you live here and you do not complete and submit this form, you may be evicted without further hearing by the court along with
    the persons named in the Summons and Complaint.
 2. You must file this form within 10 days of the date of service listed in the box on the right hand side of this form.
    Exception: If you are a tenant being evicted after your landlord lost the property to foreclosure, the 10-day deadline does not
        apply to you and you may file this form at any time before judgment is entered.
 3. If you file this form, your claim will be determined in the eviction action against the persons named in the complaint.
 4. If you do not file this form, you may be evicted without further hearing.
 5. If you are a tenant being evicted due to foreclosure, you have additional rights and should seek legal advice immediately.
CLAIMANT OR CLAIMANT'S ATTORNEY (Name and Address):   TELEPHONE NO.:
                                                                                                                FOR COURT USE ONLY




ATTORNEY FOR (Name):

NAME OF COURT:       Superior Court of California, San Diego
 STREET ADDRESS:   330 West Broadway
 MAILING ADDRESS: 330 West Broadway
CITY AND ZIP CODE: San Diego, CA 92101
    BRANCH NAME: Central Division


    Plaintiff: 3139 Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Financial, L.P., as Trustee
Defendant: Debra Toner; Kevin P. Carey; Richard L. Stanley aka Richard Stanley; and DOES 1-10

                     PREJUDGMENT CLAIM OF RIGHT TO POSSESSION                                    CASE NUMBER:


  Complete this form only if ALL of these statements are true:
  1. You are NOT named in the accompanying Summons and Complaint.                                (To be completed by the process server)
  2. You occupied the subject premises on or before the date the unlawful                        DATE OF SERVICE:
     detainer (eviction) complaint was filed. (The date is in the accompanying                   (Date that form is served or delivered,
     Summons and Complaint.)                                                                     posted, and mailed by the officer or
  3. You still occupy the subject premises.                                                      process server)

I DECLARE THE FOLLOWING UNDER PENALTY OF PERJURY:
1. My name is (specify):
2. I reside at (street address, unit no., city and ZIP code):




3. The address of "the premises" subject to this claim is (address):




4. On (insert date):                                 , the landlord or the landlord's authorized agent filed a complaint to recover
   possession of the premises. (This date is in the accompanying Summons and Complaint.)
5. I occupied the premises on the date the complaint was filed (the date in item 4). I have continued to occupy the premises ever
   since.
6. I was at least 18 years of age on the date the complaint was filed (the date in item 4).
7. I claim a right to possession of the premises because I occupied the premises on the date the complaint was filed (the date in item
   4).
8. I was not named in the Summons and Complaint.
9. I understand that if I make this claim of possession, I will be added as a defendant to the unlawful detainer (eviction) action.
10. (Filing fee) I understand that I must go to the court and pay a filing fee of $                        or file with the court an
    "Application for Waiver of Court Fees and Costs." I understand that if I don't pay the filing fee or file the form for waiver of court
    fees, I will not be entitled to make a claim of right to possession.
                                                                  (Continued on reverse)
CP10.5 [Rev. June 15, 2015]                            PREJUDGMENT CLAIM OF RIGHT                                      Code of Civil Procedure, §§ 415.46,
                                                                                                                               715.010, 715.020, 1174.25
                                                             TO POSSESSION
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                                                                                                                                          CP10.5
                                                                                                     CASE NUMBER:
    Plaintiff: 3139 Mount Whitney Rd. Trust Dated 06/14/2021, U.S. Financial, L.P., as Trustee
Defendant: Debra Toner; Kevin P. Carey; Richard L. Stanley aka Richard Stanley; and DOES 1-10



11. If my landlord lost this property to foreclosure, I understand that I can file this form at any time before judgment is entered, and
    that I have additional rights and should seek legal advice.
12. I understand that I will have five days (excluding court holidays) to file a response to the Summons and Complaint after I file this
    Prejudgment Claim of Right to Possession form.

                                NOTICE: If you fail to file this claim, you may be evicted without further hearing.

13. Rental agreement. I have (check all that apply to you):
      a.            an oral or written rental agreement with the landlord.
      b.            an oral or written rental agreement with a person other than the landlord.
      c.            an oral or written rental agreement with the former owner who lost the property to foreclosure.
      d.            other (explain):




I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

                                    WARNING: Perjury is a felony punishable by imprisonment in the state prison.


Date:

                              (TYPE OR PRINT NAME)                                                     (SIGNATURE OF CLAIMANT)




                          NOTICE: If you file this claim to possession, the unlawful detainer action against you will be
                          determined at trial. At trial, you may be found liable for rent, costs, and, in some cases, treble
                          damages.




                                                     — NOTICE TO OCCUPANTS —
     YOU MUST ACT AT ONCE if all the following are true:
        1. You are NOT named in the accompanying Summons and Complaint.
        2. You occupied the premises on or before the date the unlawful detainer (eviction) complaint was filed.
        3. You still occupy the premises.

     You can complete and SUBMIT THIS CLAIM FORM WITHIN 10 DAYS from the date of service (on the form) at the court
     where the unlawful detainer (eviction) complaint was filed. If you are a tenant and your landlord lost the property you occupy
     through foreclosure, this 10-day deadline does not apply to you. You may file this form at any time before judgment is
     entered. You should seek legal advice immediately.
     If you do not complete and submit this form (and pay a filing fee or file a fee waiver form if you cannot pay the fee), YOU
     WILL BE EVICTED.
     After this form is properly filed, you will be added as a defendant in the unlawful detainer (eviction) action and your right to
     occupy the premises will be decided by the court. If you do not file this claim, you may be evicted without a hearing.




CP10.5 [Rev. June 15, 2015]                     PREJUDGMENT CLAIM OF RIGHT TO POSSESSION                                                   Page two
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    EXHIBIT 15
      Case3:21-cv-01845-MMA-AGS
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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    3139 MOUNT WHITNEY RD. TRUST                           Case No. 21-cv-1845-MMA (AGS)
      DATED 06/14/2021,
12
                                          Plaintiff,         ORDER GRANTING PLAINTIFF’S
13                                                           MOTION TO REMAND
      v.
14                                                           [Doc. No. 4]
      DEBRA TONER, et al.,
15
                                      Defendants.
16
17
18          On September 1, 2021, Plaintiff 3139 Mount Whitney Rd. Trust Dated 06/14/2021,
19    U.S. Financial, L.P., as Trustee (“Plaintiff”) initiated an unlawful detainer action against
20    Defendants Debra Toner, Kevin P. Carey, Richard L. Stanley, and other unascertained
21    defendants (collectively, the “UD Defendants”) in the Superior Court of California,
22    County of San Diego (the “UD Action”). Doc. No. 1-2 (“State Ct. Compl.”). On
23    November 1, 2021, Debra Toner (“Defendant”), preceding pro se, filed a notice of
24    removal to this Court. Doc. No. 1 (“Notice of Removal”). Plaintiff now moves to
25    remand the UD Action back to state court. Doc. No. 4. Defendant filed an opposition, to
26    which Plaintiff replied. See Doc. Nos. 5, 7. The Court found the matter suitable for
27    determination on the papers and without oral argument pursuant to Civil Local Rule
28


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      Case3:21-cv-01845-MMA-AGS
     Case  21-04335-LA13 Filed 12/17/21 Entered
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 1    7.1.d.1. See Doc. No. 8. For the reasons set forth below, the Court GRANTS Plaintiff’s
 2    motion to remand.
 3                                              I. BACKGROUND
 4           Plaintiff alleges it is the owner of the subject property located at 3139 Mount
 5    Whitney Road, Escondido, California 92029, following a non-judicial foreclosure sale. 1
 6    State Ct. Compl. at 5.2 Plaintiff maintains that it “was a bona fide purchaser for value
 7    without notice of any defects in the nonjudicial foreclosure process.” Id. Plaintiff further
 8    asserts that on August 28, 2021, Plaintiff served a notice to quit on the UD Defendants
 9    and upon all persons claiming any right to possession of the subject property. Id. at 6.
10    Nonetheless, Plaintiff states that “since expiration of the notice [to quit] until the present,
11    [the UD Defendants] has/have remained in possession of the subject property without
12    Plaintiff’s permission or consent.” Id. Thus, Plaintiff initiated the UD Action pursuant to
13    California Code of Civil Procedure § 1161. See id. On November 1, 2021, Defendant
14    removed the UD Action to this Court. See Notice of Removal.
15                                           II. LEGAL STANDARD
16           “Federal courts are courts of limited jurisdiction.” Kokkonen v. Guardian Life Ins.
17    Co. of Am., 511 U.S. 375, 377 (1994). “They possess only that power authorized by
18    Constitution and statute.” Id. “A federal court is presumed to lack jurisdiction in a
19    particular case unless the contrary affirmatively appears.” Stock W., Inc. v. Confederated
20    Tribes, 873 F.2d 1221, 1225 (9th Cir. 1989) (citing California ex rel. Younger v. Andrus,
21    608 F.2d 1247, 1249 (9th Cir. 1979)). The party seeking federal jurisdiction bears the
22    burden to establish jurisdiction. Kokkonen, 511 U.S. at 377 (citing McNutt v. Gen.
23    Motors Acceptance Corp., 298 U.S 178, 182–83 (1936)). Generally, subject matter
24
25
26
27    1
        Plaintiff’s motion for remand states the subject property is instead located at 3235 Byron Street, San
      Diego, California 92106. Doc. No. 4-1 at 2. This appears to be a typographical error.
28    2
        All citations to electronically filed documents refer to the pagination assigned by the CM/ECF system.


                                                         -2-                         21-cv-1845-MMA (AGS)
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 1    jurisdiction is based on the presence of a federal question, see 28 U.S.C. § 1331, or on
 2    complete diversity between the parties, see 28 U.S.C. § 1332.
 3          28 U.S.C. § 1441(a) provides for removal of a civil action from state to federal
 4    court if the case could have originated in federal court. The removal statute is construed
 5    strictly against removal, and “[f]ederal jurisdiction must be rejected if there is any doubt
 6    as to the right of removal in the first instance.” Gaus v. Miles, Inc., 980 F.2d 564, 566
 7    (9th Cir. 1992) (citing Libhart v. Santa Monica Dairy Co., 592 F.2d 1062, 1064 (9th Cir.
 8    1979)).
 9                                          III. DISCUSSION
10          Defendant removed the UD Action to this Court pursuant to 28 U.S.C. §§ 1441 and
11    1443. Notice of Removal at 5. She asserts removal was proper on several grounds. The
12    Court considers each in turn.
13    A.    Removal Jurisdiction Under 28 U.S.C. § 1441
14          A defendant may remove a civil action from state to federal court if the case could
15    have originated in federal court. 28 U.S.C. § 1441(a). Subject matter jurisdiction is
16    generally based upon the presence of a federal question or on complete diversity between
17    parties. See 28 U.S.C. §§ 1331, 1332. According to Defendant, removal was proper
18    because the Court has subject matter jurisdiction pursuant to both federal question and
19    diversity jurisdiction. See Notice of Removal at 4, 12, 13. Plaintiff argues the case was
20    improperly removed and should be remanded pursuant to 28 U.S.C. § 1447(c) because
21    the Court lacks subject matter jurisdiction over the action. See Doc. No. 4-1 at 7.
22    Namely, Plaintiff asserts that there is no federal question presented on the complaint’s
23    face, no diversity between parties, and the complaint states the amount in “controversy
24    [is] between $10,000 and $25,000.” Id. at 7.
25          1.     Federal Question Jurisdiction
26          Pursuant to 28 U.S.C. § 1331, a federal district court has jurisdiction over cases
27    “arising under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.
28    “The presence or absence of federal-question jurisdiction is governed by the ‘well-


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 1    pleaded complaint rule,’ which provides that federal jurisdiction exists only when a
 2    federal question is presented on the face of the plaintiff’s properly pleaded complaint.”
 3    Caterpillar Inc. v. Williams, 482 U.S. 386, 388 (1987). “[A] case may not be removed to
 4    federal court on the basis of a federal defense, . . . even if the defense is anticipated in the
 5    plaintiff’s complaint, and even if both parties admit that the defense is the only question
 6    truly at issue in the case.” Franchise Tax Bd. of Ca. v. Constr. Laborers Vacation Tr. for
 7    S. Ca., 463 U.S. 1, 14 (1983); see also Rivet v. Regions Bank of La., 522 U.S. 470, 478
 8    (1998). A defendant’s claims or defenses that a plaintiff has violated a federal statute
 9    cannot serve as a basis for federal question jurisdiction. Takeda v. Nw. Nat. Life Ins. Co.,
10    765 F.2d 815, 822 (9th Cir. 1985). “[T]he fact that a federal statute has been violated and
11    some person harmed does not automatically give rise to a private cause of action in favor
12    of that person.” Cannon v. University of Chicago, 441 U.S. 677, 688 (1979).
13            Here, a review of the UD Action complaint reveals a single unlawful detainer
14    claim against the UD Defendants under California state law. See State Ct. Compl. at 7.
15    Thus, it is plain that the UD Action is based solely on state law, specifically California
16    Code of Civil Procedure § 1161.3 Accordingly, Plaintiff’s complaint does not present a
17    federal question of law that would provide this Court with subject matter jurisdiction over
18    the matter.
19            While Defendant generally asserts that the UD Action is properly removable, she
20    sets forth no cognizable basis for federal question jurisdiction in her notice of removal.
21    Even liberally construing Defendant’s notice of removal, any purported federal rights or
22    claims would be defenses and potential counterclaims against Plaintiff. However, neither
23    defenses nor counterclaims are considered in evaluating whether a federal question
24
25
26
27    3
       Section 1161 provides in relevant part, “[a] tenant of real property . . . is guilty of unlawful detainer . . .
      [w]hen the tenant continues in possession, in person or by subtenant, of the property, or any part thereof,
28    after the expiration of the term for which it is let to the tenant.”


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 1    appears on the face of a plaintiff’s complaint. As such, Defendant’s allegations do not
 2    establish federal question jurisdiction under 28 U.S.C. § 1331.
 3          2.     Diversity Jurisdiction
 4          Pursuant to 28 U.S.C. § 1332, a federal district court has jurisdiction over “all civil
 5    actions where the matter in controversy exceeds the sum or value of $75,000, exclusive
 6    of interest and costs,” and the dispute is between citizens of different states. 28 U.S.C.
 7    § 1332(a)(1). The Supreme Court has interpreted section 1332 to require “complete
 8    diversity of citizenship,” meaning each plaintiff must be diverse from each defendant.
 9    Caterpillar Inc. v. Lewis, 519 U.S. 61, 67–68 (1996). If a matter is removable solely on
10    the basis of diversity jurisdiction pursuant to section 1332, the action may not be
11    removed if any properly joined and served defendant is a citizen of the forum state. See
12    28 U.S.C. § 1441(b)(2).
13          Here, there is no diversity between the parties and the amount in controversy
14    requirement has not been met. Plaintiff is a trust, and the trustee is a citizen of California.
15    See Johnson v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (2006) (“A trust has
16    the citizenship of its trustee or trustees.” (citing Navarro Sav. Ass’n v. Lee, 446 U.S. 458,
17    464 (1980))). Defendant admits she is also a citizen of California because the property at
18    issue in this case is her primary dwelling and she continues to reside there. Additionally,
19    the face of the complaint clearly demonstrates that Plaintiff seeks damages in an amount
20    less than $10,000 and provides for specific money damages in the prayer for judgment.
21    See State Ct. Compl. 4, 6–7. Therefore, the Court does not have diversity jurisdiction
22    over the matter.
23          And in any event, under 28 U.S.C. § 1441(b), removal is permitted in diversity
24    cases only when “none of the parties in interest is properly joined and served as
25    defendants is a citizen of the State in which such action is brought.” 28 U.S.C. § 1441(b).
26    Such is not the case here as Defendant is a citizen of California. Accordingly, removal
27    was also improper on this basis.
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 1          Therefore, because there is neither diversity nor federal question jurisdiction, the
 2    Court finds that it lacks subject matter jurisdiction over the action and, thus, that removal
 3    was improper under 28 U.S.C. § 1441.
 4    B.    “Civil Rights Removal” Pursuant to 28 U.S.C. § 1443
 5          Defendant also contends that “civil rights removal” is proper pursuant to 28 U.S.C.
 6    § 1443. Notice of Removal at 8–10. To that end, Defendant asserts Plaintiff is violating
 7    “her Constitutional Right to Due Process, to protect her home, and principal dwelling
 8    place and claims to ownership of, in, and relating to [the] real property [at issue].” Id. at
 9    2, 4, 13; see also Doc. No. 7. at 6, 8. Plaintiff argues that civil rights removal is
10    inapplicable here because the action is based on state law unrelated to racial equality.
11    Doc. No. 4-1 at 8.
12          Pursuant to 28 U.S.C. § 1443, a defendant may remove to the proper federal court
13    any of the following civil actions commenced in state court:
14
15          (1) Against any person who is denied or cannot enforce in the courts of such
            State a right under any law providing for the equal civil rights of citizens of
16
            the United States, or of all persons within the jurisdiction thereof;
17          (2) For any act under color of authority derived from any law providing for
            equal rights, or for refusing to do any act on the ground that it would be
18
            inconsistent with such law.
19
20    28 U.S.C. § 1443. A petition for removal under section 1443(1) has been narrowly
21    interpreted and must satisfy a two-part test. See Georgia v. Rachel, 384 U.S. 780, 788–
22    92, 794–804 (1966); City of Greenwood v. Peacock, 384 U.S. 808, 824–28 (1966).
23    “First, the petitioners must assert, as a defense to the prosecution, rights that are given to
24    them by explicit statutory enactment protecting equal racial civil rights.” California v.
25    Sandoval, 434 F.2d 635, 636 (9th Cir. 1970) (citing Rachel, 384 U.S. at 788–92).
26    “Second, petitioners must assert that the state courts will not enforce that right, and that
27    allegation must be supported by reference to a state statute or a constitutional provision
28    that purports to command the state courts to ignore the federal rights.” Id.


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 1          Here, civil rights removal is not appropriate. As to the first requirement,
 2    Defendant fails to identify an explicit law protecting equal racial civil rights. In fact,
 3    Defendant makes no reference to racial inequality or discriminatory laws. The rights she
 4    asserts, like Sandoval, “spring, not from specific statutory grants, but from broad
 5    protections of the First and Fourteenth Amendments.” Sandoval, 434 F.3d at 636; see
 6    Notice of Removal at 13 (asserting a violation of her due process rights under the Fifth
 7    and Fourteenth Amendments). These rights “are not within the coverage of section
 8    1443.” Sandoval, 434 F.3d at 636 (citing Rachel, 384 U.S. at 787–88). As to the second
 9    requirement, Defendant fails to show that she would be unable to enforce her rights in
10    state court. At a minimum, she—as a tenant—is assured the right to a court hearing and
11    can present a defense to the unlawful detainer action under California law. See Cal. Civ.
12    Proc. Code. § 1170. Further, resolving the present case would not “preclude Defendant
13    from litigating her claims regarding title and challenges to the trustee’s sale in a separate
14    action.” Fannie Mae v. Gooding, No. 11-cv-762-DMS-WVG, 2011 WL 2636884, *3
15    (S.D. Cal. July 6, 2011). Thus, a federal forum is not necessary to protect Defendant’s
16    rights. Accordingly, because Defendant has not met either of the criteria, removal under
17    section 1443 was improper.
18    C.    Procedural Requirements for Removal of Civil Actions
19          In addition to the substantive defects of Defendant’s removal, Plaintiff contends
20    that removal was untimely and that Defendant did not have consent from the other
21    defendants to remove the action in violation of 28 U.S.C. § 1446(b). Doc. No. 4-1 at 9.
22          1.     Notice of Removal
23          “The notice of removal of a civil action or proceeding shall be filed within 30 days
24    after the receipt by the defendant, through service or otherwise, of a copy of the initial
25    pleading . . . , or within 30 days after the service of summons upon the defendant if such
26    initial pleading has then been filed in court and is not required to be served on the
27    defendant, whichever period is shorter.” 28 U.S.C. § 1446(b)(1).
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 1          Defendant does not state on what date she was served with the state court
 2    complaint. See Notice of Removal; Doc. No. 7. However, it appears from the record that
 3    she was duly served September 16, 2021. Doc. No. 4-4 at 3; Doc. No. 4-1 at 9. Thus,
 4    Defendant’s notice of removal was due on or before October 16, 2021. Doc. No. 4-1 at 9.
 5    Defendant did not file her notice of removal until November 1, 2021. Doc. No. 1. As
 6    this is outside the thirty-day removal window pursuant to 28 U.S.C. § 1446(b)(1), the
 7    Court finds that Defendant’s removal was untimely.
 8          2.    Unanimity of Consent
 9          Finally, Plaintiff argues that removal was improper because there was no
10    unanimity of consent among the UD Defendants. Doc. No. 4-1 at 9. Neither Defendant’s
11    notice of removal nor her opposition mention the UD Defendants as they relate to
12    removal. See Notice of Removal; Doc No. 7.
13          Section 1446(b)(2)(A) provides that “[w]hen a civil action is removed solely under
14    section 1441(a), all defendants who have been properly joined and served must join in or
15    consent to the removal of the action.” 28 U.S.C. § 1446(b)(2)(A). This is known as the
16    rule of unanimity. “Where fewer than all the defendants have joined in a removal action,
17    the removing party has the burden under section 1446(a) to explain affirmatively the
18    absence of any co-defendants in the notice of removal.” Prize Frize, Inc. v. Matrix (U.S.)
19    Inc., 167 F.3d 1261, 1266 (9th Cir. 1999), superseded by statute on other grounds.
20          Plaintiff named multiple persons—both known and unknown—as defendants in the
21    UD Action, but only Defendant filed the notice of removal. Accordingly, there is no
22    unanimity of consent. Moreover, Defendant fails to provide any information in her
23    notice about the other UD Defendants, and importantly, lacks any explanation as to why
24    her co-defendants are absent from the notice of removal. As such, the Court finds
25    Defendant has not met her burden in explaining the absence of the other UD Defendants
26    in her notice of removal. On that basis, removal was improper.
27          In sum, it appears plain that Defendant improperly removed the UD Action to
28    federal court. Defendant’s Notice of Removal was untimely and Defendant fails to


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 1    establish a basis for this Court’s jurisdiction. The Court must therefore remand the case.
 2    See 28 U.S.C. § 1447(c).
 3    D.     Attorney’s Fees
 4           Plaintiff asks the Court to award “all costs, expenses, and attorney’s fees caused by
 5    Defendant’s frivolous filing.” Doc. No. 4-1 at 9 (citing 28 U.S.C. § 1447(c)). Defendant
 6    does not address this request in her opposition. See Doc. No. 7.
 7           Pursuant to 28 U.S.C. § 1447(c), “[a]n order remanding the case may require
 8    payment of just costs and any actual expenses, including attorney fees, incurred as a
 9    result of the removal.” 28 U.S.C. § 1447(c). As the Supreme Court has indicated,
10    “[a]bsent unusual circumstances, courts may award attorney’s fees under § 1447(c) only
11    where the removing party lacked an objectively reasonable basis for seeking removal.”
12    Martin v. Franklin Capital Corp., 546 U.S. 132, 141 (2005); see also Chan Healthcare
13    Grp., PS v. Liberty Mut. Fire Ins. Co., 844 F.3d 1133, 1141 (9th Cir. 2017). Moreover,
14    “the standard for awarding fees should turn on the reasonableness of the removal.”
15    Martin, 546 U.S. at 141.
16           Here, the Court finds Defendant did not lack an objectively reasonable basis for
17    seeking removal, nor does the Court find that unusual circumstances exist. Defendant is
18    a pro se litigant, and it was reasonable for her to think removal is proper given the extent
19    to which she claims her constitutional rights are being violated and that one asserted basis
20    of removal relates to civil rights claims. See Fannie Mae, 2011 WL 2636884, at *2.4 As
21    such, the Court DENIES Plaintiff’s request for attorney’s fees and costs.
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25    4
        Plaintiff argues the present case differs from Fannie Mae because Defendant is represented by an
26    attorney in a different civil case in state court and only filed this removal in response to Plaintiff’s
      request to advance a state court hearing date. See Doc. No. 5 at 5. The Court disagrees. Defendant’s
27    representation in a different case does not make her notice of removal per se unreasonable nor does it
      negate the fact that she is proceeding pro se in this case. As other courts have found, it is generally
28    reasonable for a pro se litigant to think removal is proper.


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 1                                        IV. CONCLUSION
 2          For the foregoing reasons, the Court GRANTS Plaintiff’s motion to remand to
 3    state court. The Court further DIRECTS the Clerk of Court to return the case to state
 4    court forthwith, terminate any pending motions, and close this action.
 5          IT IS SO ORDERED.
 6    Dated: November 22, 2021
 7                                                 _____________________________
 8                                                 HON. MICHAEL M. ANELLO
 9                                                 United States District Judge

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SUPERIOR COURT OF CALIFORNIA
County of SAN DIEGO                                                        Register of Actions Notice

Case Number:      37-2021-00037475-CL-UD-CTL                                 Filing Date:         09/01/2021
Case Title:       3139 Mount Whitney Rd Trust dated 06 14 2021 US            Case Age:            63 days
                  Financial LP as Trustee vs Toner [IMAGED]
Case Status:      All Proceedings Stayed                                     Location:            Central
Case Category:    Civil - Limited                                            Judicial Officer:
Case Type:        Unlawful Detainer - Residential                            Department:          501

Future Events
Date              Time              Department                  Event
01/07/2022        08:30 AM          501                         Demurrer / Motion to Strike
01/07/2022        08:30 AM          501                         Demurrer / Motion to Strike
05/06/2022        09:00 AM          501                         Status Conference (Civil)
05/06/2022        09:00 AM          501                         Status Conference (Civil)

Participants
Name                                           Role                   Representation
3139 Mount Whitney Rd Trust dated 06 14        Plaintiff              Callahan, Rachael
2021 US Financial LP as Trustee
Carey, Kevin P                                 Defendant
Stanley, Richard L; AKA : Stanley, Richard     Defendant
Toner, Debra                                   Defendant

Representation
Name                                           Address                                            Phone Number
CALLAHAN, RACHAEL                              10509 San Diego Mission Road A San Diego           (619) 299-1761
                                               CA 92108

ROA#       Entry Date                           Short/Long Entry                                   Filed By
    1      09/01/2021     Complaint Demanding Less than $10,000 filed by 3139          3139 Mount Whitney Rd Trust
                          Mount Whitney Rd Trust dated 06 14 2021 US Financial LP      dated 06 14 2021 US Financial
                          as Trustee.                                                  LP as Trustee (Plaintiff)
                          Refers to: Toner, Debra; Carey, Kevin; Stanley, Richard
      2    09/01/2021     Civil Case Cover Sheet filed by 3139 Mount Whitney Rd        3139 Mount Whitney Rd Trust
                          Trust dated 06 14 2021 US Financial LP as Trustee.           dated 06 14 2021 US Financial
                          Refers to: Toner, Debra; Carey, Kevin; Stanley, Richard      LP as Trustee (Plaintiff)
      3    09/01/2021     Original Summons filed by 3139 Mount Whitney Rd Trust        3139 Mount Whitney Rd Trust
                          dated 06 14 2021 US Financial LP as Trustee.                 dated 06 14 2021 US Financial
                          Refers to: Toner, Debra; Carey, Kevin; Stanley, Richard      LP as Trustee (Plaintiff)
      4    09/01/2021     Plaintiff's Mandatory Cover Sheet and Supplemental           3139 Mount Whitney Rd Trust
                          Allegations-Unlawful Detainer filed by 3139 Mount Whitney    dated 06 14 2021 US Financial
                          Rd Trust dated 06 14 2021 US Financial LP as Trustee.        LP as Trustee (Plaintiff)
                          Refers to: Toner, Debra; Carey, Kevin; Stanley, Richard
      5    09/01/2021     Verification By Landlord Regarding Rental Assistance (UD-    3139 Mount Whitney Rd Trust
                          120) filed by 3139 Mount Whitney Rd Trust dated 06 14        dated 06 14 2021 US Financial
                          2021 US Financial LP as Trustee.                             LP as Trustee (Plaintiff)
                          Refers to: Toner, Debra; Carey, Kevin; Stanley, Richard
      6    09/02/2021     Summons issued.
      7    09/01/2021     Case assigned to Department C-60.
      8    09/02/2021     Case initiation form printed.
      9    09/08/2021     Application for Order to Serve Summons by Posting and        3139 Mount Whitney Rd Trust
                          Mailing (ORDER SIGNED ON 9-10-21) filed by 3139 Mount        dated 06 14 2021 US Financial
                          Whitney Rd Trust dated 06 14 2021 US Financial LP as         LP as Trustee (Plaintiff)
                          Trustee.
                          Refers to: Toner, Debra; Carey, Kevin; Stanley, Richard


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      12     09/30/2021    Motion to Quash (UD) scheduled for 10/13/2021 at 09:00:00
                           AM at Central in C-60 .
      13     09/30/2021    Application and Order Correcting Court Record (ROA #10 &
                           11) filed by The Superior Court of San Diego.
      14     10/04/2021    Opposition to Noticed Motion and Supporting Declarations     3139 Mount Whitney Rd Trust
                           filed by 3139 Mount Whitney Rd Trust dated 06 14 2021 US     dated 06 14 2021 US Financial
                           Financial LP as Trustee.                                     LP as Trustee (Plaintiff)
      15     10/04/2021    Proof of Service by Mail filed by 3139 Mount Whitney Rd      3139 Mount Whitney Rd Trust
                           Trust dated 06 14 2021 US Financial LP as Trustee.           dated 06 14 2021 US Financial
                                                                                        LP as Trustee (Plaintiff)
      16     10/01/2021    Motion to Quash Service of Summons filed by Toner,           Toner, Debra (Defendant)
                           Debra.
      17     10/04/2021    Judgment by Default by Clerk for Possession Only (Not        3139 Mount Whitney Rd Trust
                           Filed) submitted by 3139 Mount Whitney Rd Trust dated 06     dated 06 14 2021 US Financial
                           14 2021 US Financial LP as Trustee received but not filed    LP as Trustee (Plaintiff)
                           on 10/04/2021.
      18     10/04/2021    Request for Entry of Default (NOT ENTERED) filed by 3139     3139 Mount Whitney Rd Trust
                           Mount Whitney Rd Trust dated 06 14 2021 US Financial LP      dated 06 14 2021 US Financial
                           as Trustee.                                                  LP as Trustee (Plaintiff)
                           Refers to: Stanley, Richard; Toner, Debra; Carey, Kevin
      19     10/04/2021    Proof of service by Posting(UD) filed by 3139 Mount          3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as         dated 06 14 2021 US Financial
                           Trustee.                                                     LP as Trustee (Plaintiff)
                           Refers to: Stanley, Richard
      20     10/04/2021    Proof of service by Posting(UD) filed by 3139 Mount          3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as         dated 06 14 2021 US Financial
                           Trustee.                                                     LP as Trustee (Plaintiff)
                           Refers to: Toner, Debra
      21     10/04/2021    Proof of Service of Summons & Complaint - Unnamed            3139 Mount Whitney Rd Trust
                           Occupants filed by 3139 Mount Whitney Rd Trust dated 06      dated 06 14 2021 US Financial
                           14 2021 US Financial LP as Trustee.                          LP as Trustee (Plaintiff)
      22     10/04/2021    Proof of service by Posting(UD) filed by 3139 Mount          3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as         dated 06 14 2021 US Financial
                           Trustee.                                                     LP as Trustee (Plaintiff)
                           Refers to: Carey, Kevin
      23     10/06/2021    The default filed by was denied.                          3139 Mount Whitney Rd Trust
                           Refers to: Stanley, Richard; Toner, Debra; Carey, Kevin   dated 06 14 2021 US Financial
                                                                                     LP as Trustee (Plaintiff)
      24     10/06/2021    Judgment by Default by Clerk for Possession Only (Not     3139 Mount Whitney Rd Trust
                           Filed) submitted by 3139 Mount Whitney Rd Trust dated 06 dated 06 14 2021 US Financial
                           14 2021 US Financial LP as Trustee rejected on            LP as Trustee (Plaintiff)
                           10/06/2021.
      25     10/06/2021    [Another document for ROA# 25]
      25     10/06/2021    [Another document for ROA# 25]
      25     10/06/2021    [Another document for ROA# 25]
      25     10/06/2021    [Another document for ROA# 25]
      25     10/06/2021    [Another document for ROA# 25]
      25     10/06/2021    E-filing transaction partially accepted.
      26     09/30/2021    Request for Entry of Default of Unnamed Tenants (Not      3139 Mount Whitney Rd Trust
                           Entered) filed by 3139 Mount Whitney Rd Trust dated 06 14 dated 06 14 2021 US Financial
                           2021 US Financial LP as Trustee.                          LP as Trustee (Plaintiff)
      27     09/30/2021    Proof of service by Posting(UD) filed by 3139 Mount       3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as      dated 06 14 2021 US Financial
                           Trustee.                                                  LP as Trustee (Plaintiff)
                           Refers to: Stanley, Richard
      28     09/30/2021    Proof of service by Posting(UD) filed by 3139 Mount       3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as      dated 06 14 2021 US Financial
                           Trustee.                                                  LP as Trustee (Plaintiff)
                           Refers to: Toner, Debra



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      29     09/30/2021    Proof of Service of Summons & Complaint - Unnamed            3139 Mount Whitney Rd Trust
                           Occupants filed by 3139 Mount Whitney Rd Trust dated 06      dated 06 14 2021 US Financial
                           14 2021 US Financial LP as Trustee.                          LP as Trustee (Plaintiff)
      30     09/30/2021    Proof of service by Posting(UD) filed by 3139 Mount          3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as         dated 06 14 2021 US Financial
                           Trustee.                                                     LP as Trustee (Plaintiff)
                           Refers to: Stanley, Richard
      31     10/06/2021    The default filed by was denied.                             3139 Mount Whitney Rd Trust
                                                                                        dated 06 14 2021 US Financial
                                                                                        LP as Trustee (Plaintiff)
      32     10/06/2021    [Another document for ROA# 32]
      32     10/06/2021    [Another document for ROA# 32]
      32     10/06/2021    [Another document for ROA# 32]
      32     10/06/2021    [Another document for ROA# 32]
      32     10/06/2021    [Another document for ROA# 32]
      32     10/06/2021    E-filing transaction partially accepted.
      33     10/07/2021    Request for Entry of Default (and All Unknown Occupants)     3139 Mount Whitney Rd Trust
                           filed by 3139 Mount Whitney Rd Trust dated 06 14 2021 US     dated 06 14 2021 US Financial
                           Financial LP as Trustee.                                     LP as Trustee (Plaintiff)
                           Refers to: Stanley, Richard; Carey, Kevin
      34     10/07/2021    Plaintiff's Mandatory Cover Sheet and Supplemental           3139 Mount Whitney Rd Trust
                           Allegations-Unlawful Detainer filed by 3139 Mount Whitney    dated 06 14 2021 US Financial
                           Rd Trust dated 06 14 2021 US Financial LP as Trustee.        LP as Trustee (Plaintiff)
      35     10/07/2021    Proof of Service by Mail (UD-101) filed by 3139 Mount        3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as         dated 06 14 2021 US Financial
                           Trustee.                                                     LP as Trustee (Plaintiff)
      36     10/07/2021    Default entered as to Stanley, Richard L on Complaint
                           Demanding Less than $10,000 filed by 3139 Mount Whitney
                           Rd Trust dated 06 14 2021 US Financial LP as Trustee .
      37     10/07/2021    Default entered as to Carey, Kevin P on Complaint
                           Demanding Less than $10,000 filed by 3139 Mount Whitney
                           Rd Trust dated 06 14 2021 US Financial LP as Trustee .
      38     10/13/2021    Minutes finalized for Motion to Quash (UD) heard
                           10/13/2021 09:00:00 AM.
      39     10/13/2021    Clerk's Certificate of Service By Mail (Minutes Only) SD
                           generated.
      40     10/20/2021    Demurrer / Motion to Strike scheduled for 11/24/2021 at
                           09:00:00 AM at Central in C-60 .
      41     10/22/2021    Demurrer / Motion to Strike rescheduled to 11/24/2021 at
                           09:00:00 AM in 501 before at Central.
      42     10/25/2021    Ex Parte scheduled for 11/03/2021 at 01:30:00 PM at
                           Central in 501 .
      43     10/22/2021    Demurrer filed by Toner, Debra.                              Toner, Debra (Defendant)
      44     10/22/2021    Notice of Related Case filed by Toner, Debra.                Toner, Debra (Defendant)
      45     10/27/2021    Opposition - Other (to demurrer) filed by 3139 Mount         3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as         dated 06 14 2021 US Financial
                           Trustee.                                                     LP as Trustee (Plaintiff)
      46     10/27/2021    Proof of Service by Mail filed by 3139 Mount Whitney Rd      3139 Mount Whitney Rd Trust
                           Trust dated 06 14 2021 US Financial LP as Trustee.           dated 06 14 2021 US Financial
                                                                                        LP as Trustee (Plaintiff)
      47     10/30/2021    Case reassigned from C-60 to 501 effective 10/30/2021.
      48     11/01/2021    Ex Parte Application - Other and Supporting Documents (to    3139 Mount Whitney Rd Trust
                           advance demurrer) filed by 3139 Mount Whitney Rd Trust       dated 06 14 2021 US Financial
                           dated 06 14 2021 US Financial LP as Trustee.                 LP as Trustee (Plaintiff)
      49     11/01/2021    Memorandum of Points and Authorities filed by 3139 Mount     3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as         dated 06 14 2021 US Financial
                           Trustee.                                                     LP as Trustee (Plaintiff)




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      50     11/01/2021    Proposed Order submitted by 3139 Mount Whitney Rd              3139 Mount Whitney Rd Trust
                           Trust dated 06 14 2021 US Financial LP as Trustee              dated 06 14 2021 US Financial
                           received but not filed on 11/01/2021.                          LP as Trustee (Plaintiff)
      51     11/01/2021    Declaration - Other (of Allison Riis) filed by 3139 Mount      3139 Mount Whitney Rd Trust
                           Whitney Rd Trust dated 06 14 2021 US Financial LP as           dated 06 14 2021 US Financial
                           Trustee.                                                       LP as Trustee (Plaintiff)
      52     11/03/2021    Notice of Entry of Judgment filed by 3139 Mount Whitney        3139 Mount Whitney Rd Trust
                           Rd Trust dated 06 14 2021 US Financial LP as Trustee.          dated 06 14 2021 US Financial
                                                                                          LP as Trustee (Plaintiff)
      53     11/03/2021    Minutes finalized for Ex Parte heard 11/03/2021 01:30:00
                           PM.
      54     11/01/2021    Notice - Other (Notice to Superior Court of Removal to         Toner, Debra (Defendant)
                           Federal District Court [28 USC 1446(d)]) filed by Toner,
                           Debra.
      55     11/01/2021    Notice of Stay of Proceedings - Case filed by Toner, Debra.    Toner, Debra (Defendant)
      56     11/03/2021    Status Conference (Civil) scheduled for 05/06/2022 at
                           09:00:00 AM at Central in 501 .
      57     11/15/2021    Opposition - Other (to Remand) filed by Toner, Debra.          Toner, Debra (Defendant)
      58     11/22/2021    Notice of Termination or Modification of Stay filed by 3139    3139 Mount Whitney Rd Trust
                           Mount Whitney Rd Trust dated 06 14 2021 US Financial LP        dated 06 14 2021 US Financial
                           as Trustee.                                                    LP as Trustee (Plaintiff)
                           Refers to: Toner, Debra
      59     11/22/2021    Brief - Other (Supplemental Brief in Reply to Opposition to    Toner, Debra (Defendant)
                           Motion) filed by Toner, Debra.
      60     11/23/2021    Notice of Stay of Proceedings - Case filed by Toner, Debra.    Toner, Debra (Defendant)
      62     11/24/2021    Demurrer / Motion to Strike scheduled for 01/07/2022 at
                           08:30AM in Department 501.




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